         Case 1:02-cv-00025-CFL Document 298 Filed 06/17/11 Page 1 of 1




      In The United States Court of Federal Claims
                                             No. 02-25L

                                       (Filed: June 17, 2011)
                                            __________

 JICARILLA APACHE NATION,
 formerly JICARILLA APACHE TRIBE,

                                Plaintiff,

                         v.

 THE UNITED STATES,

                                Defendant.

                                             _________

                                              ORDER
                                             _________

        On or before July 15, 2011, the parties shall file a joint status report indicating how they
will proceed in light of the decision in United States v. Jicarilla Apache Nation, No. 10-382,
U.S.L.W. 4474 (2011).

       IT IS SO ORDERED.




                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
